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 8

 9                          UNITED STATES DISTRICT COURT
10         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11

12 BRIAN KUTZA on behalf of himself and all   Case No. 3:18-cv-03534-RS
   others similarly situated,
13                                            Assigned to the Hon. Richard Seeborg
                  Plaintiff,
14                                            CLASS ACTION
           v.
15                                            DEFENDANT WILLIAMS-SONOMA,
   WILLIAMS-SONOMA, INC.,                     INC.’S:
16
                  Defendant.                  (1)   NOTICE OF MOTION AND
17                                                  MOTION TO DISMISS CLASS
                                                    ACTION COMPLAINT; AND
18
                                              (2)   MEMORANDUM OF POINTS AND
19                                                  AUTHORITIES IN SUPPORT
                                                    THEREOF
20

21                                            Hearing:
                                              Date:                September 20, 2018
22                                            Time:                1:30 p.m.
                                              Courtroom:           3
23

24                                            Complaint Filed:     June 13, 2018
                                              Trial Date:          None Set
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 1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that on September 20, 2018 at 1:30 p.m., or as soon thereafter

 3 as counsel may be heard, in Courtroom 3 on the 17th floor of the United States District Court for

 4 the Northern District of California, San Francisco Division, located at 450 Golden Gate Avenue,

 5 San Francisco, California 94102, the Honorable Richard Seeborg presiding, Defendant Williams-

 6 Sonoma, Inc. (“WSI”) will and hereby does move the Court, pursuant to Fed. R. Civ. P. 9(b),

 7 12(b)(1), and 12(b)(6), for an order dismissing the Class Action Complaint (the “Complaint”) filed

 8 by Plaintiff Brian Kutza (“Plaintiff”) for lack of standing and failure to state facts sufficient to

 9 constitute a cause of action.
10          WSI’s Motion to Dismiss (the “Motion”) seeks dismissal of the class and individual claims
11 asserted in the Complaint on the grounds that: (1) Plaintiff lacks standing to represent a

12 nationwide class pursuing non-California claims and injunctive relief; (2) the Complaint does not

13 allege facts sufficient to state claims for violation of California’s Consumers Legal Remedies Act

14 (“CLRA”), violation of California’s False Advertising Law (“FAL”), violation of California’s

15 Unfair Competition Law (“UCL”), violation of the Magnuson-Moss Warranty Act (“MMWA”),

16 breach of express warranty, breach of implied warranty of merchantability, unjust enrichment,

17 negligent misrepresentation, and fraud; and (3) Plaintiff cannot pursue the equitable claims he

18 asserts, or the equitable relief and the CLRA damages he seeks, in the Complaint.

19          The Motion is based on this Notice of Motion and Motion, the attached Memorandum of
20 Points and Authorities, the Declaration of Benjamin O. Aigboboh (“Aigboboh Decl.”), the Request

21 for Judicial Notice, all pleadings, papers and other documentary materials in the Court’s file for

22 this action, those matters of which this Court may or must take judicial notice, and such other

23 matters as the Court may consider.

24                                        SHEPPARD MULLIN RICHTER & HAMPTON LLP

25
     Dated: August 6, 2018                By                   /s/ Benjamin O. Aigboboh
26                                                                P. CRAIG CARDON
                                                              BENJAMIN O. AIGBOBOH
27                                                              ALYSSA M. SHAUER
28
                                                                 Attorneys for Defendant
                                                      -1-                       Case No. 3:18-cv-03534-RS
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                       I.      INTRODUCTION

 3          In his Complaint, Plaintiff seeks to piggyback on the glut of “all natural” claims filed

 4 across the country. To do this, he attempts to turn a single label statement—“Active Ingredients

 5 Derived from Natural Sources”—that appears in small font on the side or back of kitchen

 6 cleaning products, into a representation that the products are all natural products that contain no

 7 “unnatural” or “synthetic” ingredients:

 8               FRONT                               BACK                                SIDE
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14 Because it is clear that no reasonable consumer could interpret the statement “Active Ingredients

15 Derived from Natural Sources” to mean that the products are all natural and contain all natural

16 ingredients, Plaintiff cherry-picks words, ignores the actual statement and its context, recites

17 irrelevant ingredient effects ad nauseum (including allegedly harmful effects caused by ingestion

18 of certain ingredients in kitchen soaps, lotions, cleaners, and sprays), and seeks to combine the

19 sole label statement with a diffuse medley of irrelevant, unspecific, and non-actionable website

20 statements (taken out of context) that Plaintiff, who did not make any purchases online, did not

21 allege he saw or relied on in the notice letter he sent to WSI before filing suit. None of this,

22 however, changes the fact that each of Plaintiff’s claims, which are based on an implausible

23 interpretation of the sole label statement, fails as a matter of law.

24          The implausibility of Plaintiff’s purported interpretation is not the Complaint’s only defect.
25 Plaintiff, a California resident that made his alleged purchases in California, lacks standing to

26 represent a nationwide class pursuing non-California claims. The Complaint does not allege facts

27 sufficient to establish standing to pursue injunctive relief, or damages under the Consumers Legal

28 Remedies Act for certain products and all alleged website statements. Plaintiff seeks to pursue

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 1 equitable claims and relief he is not entitled to because he has an adequate remedy at law or that

 2 are not available under California law. Finally, several claims fail for reasons separate from the

 3 failure to allege a misrepresentation including failure to allege adequate notice or facts sufficient

 4 to establish required elements. The Complaint should be dismissed.

 5                                II.     RELEVANT ALLEGATIONS

 6 A.       Plaintiff’s Alleged Purchases

 7          Plaintiff, a California resident, allegedly purchased the following Williams-Sonoma-brand

 8 kitchen products “on numerous occasions”: (1) Fleur de Sel All-Purpose Cleaner; (2) Meyer

 9 Lemon Hand Lotion; (3) Meyer Lemon Hand Soap; (4) Pink Grapefruit Countertop Spray; and (5)
10 White Gardenia Dish Soap (the “Purchased Products”). Dkt. 1 ¶ 15. Plaintiff, who made his

11 purchases in a single retail store, alleges he bought the products “because he saw the labeling,

12 advertising, [WSI’s] website, and read the packaging, which represented that the[y] are ‘natural’

13 and contain ‘Active Ingredients Derived from Natural Sources.’” Id. ¶¶ 15-16. Plaintiff allegedly

14 “understood this to mean that he was purchasing natural products that did not contain any

15 unnatural and/or synthetic ingredients,” despite the fact no such statement appears on the

16 Purchased Products, or in the website statements Plaintiff allegedly relied on. Id. ¶¶ 16, 27-31.

17 Plaintiff further alleges that the Purchased Products “contain unnatural and/or synthetic

18 ingredients,” and that he “would not have purchased the[m] if he had known that they contained

19 unnatural and/or synthetic ingredients.” Id. ¶ 7, 16. 1

20 B.       Plaintiff’s Individual And Class Claims

21          The Complaint asserts the following causes of action on behalf of Plaintiff, and a

22 nationwide class and California subclass of persons that purchased the “Products”: (1) violation

23 of the CLRA; (2) violation of the FAL; (3) violation of the UCL; 2 (4) violation of the MMWA; (5)

24 breach of express warranty; (6) breach of implied warranty of merchantability; (7) unjust

25 enrichment; (8) negligent misrepresentation; and (9) fraud. Dkt. 1 ¶¶ 3, 48-128.

26

27   1
     Plaintiff also seeks to pursue claims arising from dozens of additional “household and personal
   care products” he did not purchase. Dkt. 1 ¶¶ 3-7.
28 2
     The first three claims are not asserted on behalf of the nationwide class. Dkt. 1 ¶¶ 59, 68, 74.
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 1                 III.    STANDARDS APPLICABLE TO MOTION TO DISMISS

 2 A.       Federal Rule Of Civil Procedure 12(b)(1)

 3          Under Fed. R. Civ. P. 12(b)(1), a district court must dismiss a complaint if it lacks subject

 4 matter jurisdiction to hear the claims alleged. Johnson v. Nissan N. Am., Inc., 272 F. Supp. 3d

 5 1168, 1173 (N.D. Cal. 2017). “Standing is a threshold matter central to…subject matter

 6 jurisdiction” and “addresses the constitutional requirement that a plaintiff allege a case or

 7 controversy, which at an irreducible minimum, requires three elements: (1) an injury that is (2)

 8 fairly traceable to the defendant’s allegedly unlawful conduct and that is (3) likely to be redressed

 9 by the requested relief.” Id. (internal quotations omitted).
10 B.       Federal Rules Of Civil Procedure 12(b)(6) And 9(b)

11          Under Fed. R. Civ. P. 12(b)(6), a motion to dismiss should be granted when the complaint

12 fails “to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

13 544, 570 (2007). “Plausibility requires more than ‘a sheer possibility’ of misconduct.” Hindsman

14 v. GM LLC, 2018 U.S. Dist. LEXIS 92319, at *12 (N.D. Cal. June 1, 2018) (quoting Ashcroft v.

15 Iqbal, 556 U.S. 662, 678 (2009)). “The court must be able to ‘draw the reasonable inference’ of

16 the defendant’s liability based on a ‘context-specific’ review, ‘judicial experience and common

17 sense.’” Id. (quoting Ashcroft, 556 U.S. at 678-79). Although courts must accept well-pleaded

18 factual allegations as true, they “need not accept as true any unreasonable inferences, unwarranted

19 deductions of fact, or conclusory legal allegations cast in the form of factual allegations.”

20 McKinniss v. Kellogg USA, 2007 U.S. Dist. LEXIS 96106, at *5 (C.D. Cal. Sep. 19, 2007). In

21 ruling on a motion to dismiss, courts may consider documents whose contents are alleged in (but

22 not attached to) the complaint and whose authenticity no party questions, and matters subject to

23 judicial notice. Id.; see also Hindsman, 2018 U.S. Dist. LEXIS 92319, at **12-13.

24          Where, as here, a plaintiff alleges claims (CLRA, FAL, UCL, unjust enrichment, negligent

25 misrepresentation, fraud) that “sound[] in fraud or mistake,” a complaint must also satisfy Fed. R.

26 Civ. P. 9(b). Zeiger v. WellPet LLC, 2018 U.S. Dist. LEXIS 7530, at *8 (N.D. Cal. Jan. 17, 2018).

27 Fed. R. Civ. P. 9(b) “requires that such claims state with particularity the circumstances

28 constituting fraud or mistake…including the who, what, when, where, and how of the misconduct

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 1 charged.” Id. at *8 (internal quotations and citations omitted). The fraud allegations must “be

 2 specific enough to give defendants notice of the particular misconduct…so that they can defend

 3 against the charge and not just deny that they have done anything wrong.” Kearns v. Ford Motor

 4 Co., 567 F.3d 1120, 1124 (9th Cir. 2004) (internal quotations omitted).

 5                          IV.     THE MOTION SHOULD BE GRANTED

 6 A.       Plaintiff Lacks Standing To Pursue Non-California Claims For A Nationwide Class

 7          Plaintiff, a California resident that made his alleged purchases in California, attempts to

 8 bring claims for violation of the MMWA, breach of express warranty, breach of implied warranty

 9 of merchantability, unjust enrichment, negligent misrepresentation, and fraud on behalf of a
10 nationwide class. Dkt. 1 ¶¶ 48, 87, 96, 102, 112, 117, 124. Plaintiff, however, lacks standing to

11 bring these non-California claims on behalf non-California consumers. See, e.g., Hindsman, 2018

12 U.S. Dist. LEXIS 92319, at **46-49 (dismissing MMWA and express warranty claims asserted by

13 California-named plaintiffs “on behalf of non-California consumers”); Zeiger, 2018 U.S. Dist.

14 LEXIS 7530, at **15-17 (dismissing nationwide class allegations because “[p]laintiffs are all

15 residents of California, but purport to represent a nationwide class, creating the significant burden

16 of nationwide discovery.”); Johnson, 272 F. Supp. 3d at 1174-76 (dismissing MMWA claims and

17 unjust enrichment claims asserted on behalf of residents of states in which named plaintiffs did not

18 reside); Corcoran v. CVS Health Corp., 2016 U.S. Dist. LEXIS 99797, at *8 (N.D. Cal. July 29,

19 2016) (“[T]he consensus among courts in this District…is that named plaintiffs lack standing to

20 assert claims based on th[e]…laws” of states in which “no [named] plaintiff resides in, or alleges

21 to have suffered an injury….”). 3

22 B.       Plaintiff Does Not Have Standing To Pursue Injunctive Relief

23          “[T]o establish standing for prospective injunctive relief, a plaintiff must demonstrate that

24
     3
25   These claims are also subject to dismissal to extent it is unclear which state law Plaintiff alleges
   applies. Nguyen v. Nissan N. Am., Inc., 2017 U.S. Dist. LEXIS 55501, at *16 n.2 (N.D. Cal. Apr.
26 11, 2017) (dismissing unjust enrichment claim asserted on behalf of a nationwide class because
   plaintiff did :not specify which state’s…law…appl[ies]….”); Romero v. Flowers Bakeries, LLC,
27 2016 U.S. Dist. LEXIS 15868, at *34 (N.D. Cal. Feb. 8, 2016) (dismissing nationwide unjust
   enrichment, fraud, negligent misrepresentation, and warranty claims for failure to “allege the
28 applicable law” because “courts in this district have held that, due to variances among state laws,
   failure to allege which state law governs a common law claim is grounds for dismissal.”).
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 1 he not only suffered or is threatened with a concrete and particularized legal harm but also that

 2 there is a sufficient likelihood that he will again be wronged in a similar way.” Gasser v. Kiss My

 3 Face, LLC, 2017 U.S. Dist. LEXIS 175273, at *10 (N.D. Cal. Oct. 23, 2017) (internal quotations

 4 omitted); see also Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 970 (9th Cir. 2018) (standing

 5 requires plaintiff to show “that she faces an imminent or actual threat of future harm caused by

 6 [defendant’s] allegedly false advertising.”). A “sufficient likelihood” requires a showing of a “real

 7 and immediate threat of repeated injury.” Bates v. UPS, 511 F.3d 974, 985 (9th Cir. 2007). It is a

 8 plaintiff’s burden to establish standing. Gasser, 2017 U.S. Dist. LEXIS 175273, at *10.

 9          Here, Plaintiff has not alleged facts establishing that he faces an imminent or actual threat
10 of future harm. Plaintiff alleges, only, that he “would purchase the products in the future if [WSI]

11 changed the composition…so that they conformed to their…labeling.” Dkt. 1 ¶ 16. Plaintiff’s

12 future purchase, therefore, is “contingent on reformulation of the products,” which is not a

13 circumstance that gives rise to standing to pursue injunctive relief. Babaian v. Dunkin’ Brands

14 Grp. Inc., 2018 U.S. Dist. LEXIS 98673, at *13 (C.D. Cal. June 12, 2018) (dismissing request for

15 injunctive relief supported by plaintiff’s allegation that “he ‘will likely purchase Class Products in

16 the future from [defendant] if [they] contain the Real Ingredients as represented.’”). 4 Even if it

17 were, “injunctive relief is limited to having the label accurately reflect the product’s contents” not

18 “forc[ing] [defendant] to change the composition of its products.” Gasser, 2017 U.S. Dist. LEXIS

19 175273, at *11 (internal quotations omitted). 5 Plaintiff’s request for injunctive relief should be

20 dismissed. Moreover, because Plaintiff lacks standing, he “may not represent a class seeking that

21 relief,” and the request for injunctive relief on behalf of the class must be dismissed. Hodgers-

22

23   4
       See also Gasser, 2017 U.S. Dist. LEXIS 175273, at **10-12 (allegation that plaintiffs “would
     purchase the Products again if [defendant] changed the composition so that they conformed to
24   their ‘natural’ labeling and marketing” insufficient to “establish[] standing for injunctive relief”
     because plaintiffs “failed to allege they would purchase the same Products with the same synthetic
25   ingredients even if properly labeled….”).
     5
26     See also Romero v. Flowers Bakeries, LLC, 2015 U.S. Dist. LEXIS 59498, at *22 (N.D. Cal.
     May 6, 2015) (“Any injunctive relief the Court could grant would pertain only to [d]efendant’s
27   labeling practice, and not to the ingredients that [d]efendant uses.”); Anderson v. Hain Celestial
     Grp., Inc., 87 F. Supp. 3d 1226, 1235 (N.D. Cal. 2015) (plaintiff’s allegation “that she would
28   purchase the product in the future if it…did not contain non-natural ingredients is completely
     inconsistent…with any injunctive relief that could actually issue in this case….”).
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 1 Durgin v. De La Vina, 199 F.3d 1037, 1045 (9th Cir. 1999); see also Bird v. First Alert, Inc., 2014

 2 U.S. Dist. LEXIS 176391, at *13 (N.D. Cal. Dec. 19, 2014) (a named plaintiff with no standing to

 3 pursue “injunctive relief is not permitted to pursue [it] on behalf of unnamed class members.”).

 4 C.       Plaintiff’s Individial Claims Based On The Purchased Products Fail

 5          1.     Plaintiff’s CLRA, FAL, And UCL Fraudulent Prong Claims Fail Because No
                   Reasonable Consumer Would Be Deceived In The Manner Alleged
 6

 7          The CLRA prohibits “unfair methods of competition and unfair or deceptive acts or

 8 practices” Cal. Civ. Code § 1770. The FAL “prohibits any unfair, deceptive, untrue, or

 9 misleading advertising.” Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008)
10 (internal quotations omitted). The UCL prohibits any “fraudulent business act or practice.” Cal.

11 Bus. & Prof. Code § 17200. 6 Claims under the CLRA, FAL, and fraudulent prong of the UCL are

12 governed by the “reasonable consumer” test. Williams, 552 F.3d at 938.

13          To state a claim under this test, a plaintiff must allege that defendant made statements that

14 are “likely to deceive” a reasonable consumer. Lavie v. Procter & Gamble Co., 105 Cal. App. 4th

15 496, 508 (2003). “‘Likely to deceive’ implies more than a mere possibility that the advertisement

16 might conceivably be misunderstood by some few consumers viewing it in an unreasonable

17 manner.” Lavie, 105 Cal. App. 4th at 508. “Rather, the phrase indicates that the ad is such that it

18 is probable that a significant portion of the general consuming public or of target consumers,

19 acting reasonably in the circumstances, could be misled.” Id.; see also Hill v. Roll Int’l Corp., 195

20 Cal. App. 4th 1295, 1304 (2011) (a plaintiff must “show potential deception of consumers acting

21 reasonably in the circumstances—not just any consumers,” the “least sophisticated consumer,” or

22 the “unwary consumer.”). “[T]he primary evidence in a false advertising case is the advertising

23 itself.” Williams, 552 F.3d at 938. “The reasonable consumer analysis requires that

24 advertisements be ‘read reasonably and in context.’” Shane v. Fla. Bottling, Inc., 2017 U.S. Dist.

25 LEXIS 141069, at **11-12 (C.D. Cal. Aug. 9, 2017) (quoting Freeman v. Time, Inc., 68 F.3d 285,

26
     6
27   The UCL has three “prongs” that prohibit “business practices that are (1) unlawful, (2) unfair, or
   (3) fraudulent.” Punian v. Gillette Co., 2016 U.S. Dist. LEXIS 34164, at *16 (N.D. Cal. Mar. 15,
28 2016). Each prong “provides a separate and distinct theory of liability.” Id. Plaintiff’s unlawful
   and fraudulent prong claims (Dkt. 1 ¶¶ 73-85) are addressed in Section IV.C.2 infra.
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 1 290 (9th Cir. 1995)). “Because the ‘reasonable consumer’ inquiry is an objective standard, claims

 2 may be dismissed as a matter of law where an alleged statement…in context, is such that no

 3 reasonable consumer could be misled in the manner claimed by the plaintiff.” Rugg v. Johnson &

 4 Johnson, 2018 U.S. Dist. LEXIS 101727, at *9 (N.D. Cal. June 18, 2018) (citation omitted). 7

 5          Here, Plaintiff alleges he believed the Purchased Products contain 100% natural

 6 ingredients, despite the fact there is no such express statement on the products, their packaging, or

 7 the website. Instead, Plaintiff asserts that he and others did and would reasonably interpret WSI’s

 8 actual statements—one packaging statement and disparate website statements—to mean this, i.e.,

 9 that the Purchased Products are completely “natural products that did not contain any unnatural
10 and/or synthetic ingredients,” or “all of the ingredients in the [Purchased] Products are ‘derived

11 from natural sources.’” Dkt. 1 ¶¶ 8, 16, 34; see also Dkt. 1 ¶¶ 1, 26. When each statement is

12 “read reasonably and in context,” however, it is clear that no reasonable consumer could reach the

13 conclusion(s) alleged by Plaintiff. 8

14                 a.      No Reasonable Person Viewing The Sole Packaging Statement Would
                           Be Deceived As Alleged By Plaintiff
15

16          The Complaint alleges that the packaging contains a single allegedly actionable statement

17 (which is not alleged be on WSI’s website, either as part of an image of the product packaging or

18 otherwise): “Active Ingredients Derived from Natural Sources.” Dkt. 1 ¶ 31. Thus, despite the

19 Complaint’s conclusions to the contrary, the packaging does not state that “the Products are

20
   7
     As such, courts regularly dismiss claims based on implausible interpretations at the pleadings
21 stage. See, e.g., Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016) (affirming dismissal
   because “claim that the reasonable consumer would be deceived” was “not plausible”); Davis v.
22 HSBC Bank Nev., N.A., 691 F.3d 1152, 1162 (9th Cir. 2012) (affirming dismissal because theory
   for how advertising was misleading “defie[d] common sense….”); Girard v. Toyota Motor Sales,
23 U.S.A., Inc., 316 Fed. Appx. 561, 563 (9th Cir. 2008) (affirming dismissal because the “allegations
   failed to state an UCL, CLRA, or negligent misrepresentation claim because a reasonable
24 consumer would not be misled by [defendant’s] statements.”); Freeman, 68 F.3d at 229 (affirming
   dismissal because defendant’s promotion, “when read reasonably and in context,” did not make
25 representation alleged by plaintiff); Simpson v. The Kroger Corp., 219 Cal. App. 4th 1352, 1370-
   71 (2013) (affirming order sustaining demurrer because “plaintiff has not, and as a matter of law
26 cannot, allege that a reasonable consumer would have been misle[]d by [defendant’s] labels….”);
   Hill, 195 Cal. App. 4th at 1301-07 (affirming trial court order sustaining demurrer because no
27 reasonable consumer would be misled by advertising in the manner alleged by plaintiff).
   8
28   Plaintiff’s FAL, UCL, and CLRA claims are also subject to dismissal, in whole or in part, for
   the reasons set forth in Sections IV.C.2, IV.D, and IV.E infra.
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 1 ‘natural’” or “naturally-derived.” Dkt. 1 ¶¶ 26, 31. Indeed, neither the word “natural” alone nor

 2 the phrase “naturally-derived” appears anywhere on the product. Where the word “Natural” does

 3 appear, it is part of a larger phrase, in small font on the side or back of the product (where it is

 4 underneath information such as directions, cautions, first aid instructions, and ingredients), and as

 5 an adjective to describe the sources from which the Purchased Products’ active ingredients are

 6 derived. Aigboboh Decl. ¶¶ 2-6, Exs. A-E.

 7          When “read reasonably and in context,” it is clear that no reasonable consumer would read

 8 the phrase “Active Ingredients Derived from Natural Sources” to mean that the Purchased

 9 Products are completely “natural” products that do not contain any “unnatural” or “synthetic”
10 ingredients, or that all ingredients (active and inactive) are derived from natural sources. 9

11 Plaintiff offers no facts to support his conclusory interpretation (see Rugg, 2018 U.S. Dist. LEXIS

12 101727, at **7-10 (dismissing claims because plaintiffs did “not allege[] facts showing that a

13 reasonable consumer would understand ‘hypoallergenic’ to have the definition attributed to it by

14 [p]laintiffs”)), and his “selective interpretation of individual words or phrases from [the]

15 labeling”—which ignores that the adjective “natural” refers to the sources from which the

16 Purchased Products’ active ingredients were derived, not the Purchased Products themselves or all

17 ingredients contained therein—“cannot support a CLRA, FAL, or UCL claim.” Hairston, 2012

18 U.S. Dist. LEXIS 74279, at *13. 10

19          In fact, the plain language provides no basis for Plaintiff’s contention that the presence of

20
   9
      See, e.g., Rugg, 2018 U.S. Dist. LEXIS 101727, at *8 (dismissing CLRA, FAL, and UCL claims
21 with prejudice because it is “completely implausible that a reasonable consumer would under the
   use of the term ‘hypoallergenic’ on the product’s label to mean” what plaintiffs alleged consumers
22 would understand it to mean); Hairston v. S. Beach Bev. Co., 2012 U.S. Dist. LEXIS 74279, at
   *13 (C.D. Cal. May 18, 2012) (no reasonable consumer would read “‘all natural’ language…
23 immediately followed by the…statement ‘with vitamins’…and believe that the added vitamins are
   suppose[d] to be ‘all natural vitamins.’”).
24 10
       See also Carrea v. Dreyer’s Grand Ice Cream, 475 Fed. Appx. 113, 115 (9th Cir. Apr. 5, 2012)
25 (rejecting  attempt to interpret words on label out of context and affirming dismissal with prejudice
   of CLRA, FAL, and UCL claims); Harris v. Las Vegas Sands L.L.C., 2013 U.S. Dist. LEXIS
26 185587, at *15 (C.D. Cal. Aug. 16, 2013) (dismissing CLRA, FAL, and UCL claims with
   prejudice because “phraseology and word placement would need to be taken completely out of
27 context to be misunderstood….”). The FTC has also noted that context matters to how “natural”
   is defined and whether it is an “appropriate descriptor” and has therefore refused to prohibit use of
28 “natural” and “to establish a general definition.” 75 Fed. Reg. 63552, 63584, 63586.

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 1 “unnatural” or “synthetic” ingredients makes the statement “Active Ingredients Derived from

 2 Natural Sources” false or misleading. On the contrary, under any reasonable interpretation, this

 3 phrase is entirely consistent with the presence of purportedly “unnatural” or “synthetic”

 4 ingredients. The dictionary definition of the word “derive” is “to produce or obtain (a substance)

 5 from another.” Aigboboh Decl. ¶ 7, Ex. F. 11 Thus, the phrase “Active Ingredients Derived from

 6 Natural Sources” means that the “Active Ingredients” were produced from another substance (the

 7 “Natural Sources”). See id. ¶ 8, Ex. G (Merriam-Webster noting that “[p]etroleum is derived from

 8 coal tar” is an example of the ordinary use of the phrase “derived from”). This is consistent with

 9 the Complaint’s alleged definition of synthetic “as ‘a substance that is formulated or manufactured
10 by a chemical process or by a process that chemically changes a substance extracted from

11 naturally occurring plant, animal, or mineral sources….’” Dkt. 1 ¶ 36 (quoting 7 U.S.C. §

12 6502(21)). 12 Because Plaintiff cannot plausibly allege why products advertised as containing

13 “Active Ingredients Derived from Natural Sources” would not include “unnatural” or “synthetic”

14 ingredients, his claims should be dismissed. 13

15          Tellingly, Plaintiff does not allege that the Purchased Products’ ingredients (whether active

16 or not) are not derived from natural sources, or that a purportedly “unnatural” or “synthetic”

17 ingredient cannot be derived from natural sources. 14 In fact, although the Complaint identifies

18
   11
      See also Aigboboh Decl. ¶ 8, Ex. G (“derive” means “to obtain (a chemical substance) actually
19 or theoretically from a parent substance.”); id. ¶ 9, Ex. H (“derive” means “[t]o produce or obtain
   (a compound) from another substance by chemical reaction.”); id. ¶ 10, Ex. I (“derived from”
20 means “formed or prepared by (a chemical or physical process affecting another substance).”).
   12
      Notwithstanding this fact, Plaintiff offers no reason why the definition found in 7 U.S.C. §
21 6502(21) of federal Organic Foods Production Act (“OFPA”) should be applied to non-food
   products that are not marketed as “organic.” See 7 U.S.C. §§ 6502(1), 6503(a)).
22 13
      See, e.g., Manchouck v. Mondeléz Int’l, Inc., 2013 U.S. Dist. LEXIS 138877, at **7-11 (N.D.
23 Cal. Sep. 26, 2013) (dismissing claims with prejudice because plaintiff did “not plausibly alleged
   why the statement ‘made with real fruit’ would not include mechanically separated fruit purée.”);
24 Sensible Foods, LLC v. World Gourmet, Inc., 2012 U.S. Dist. LEXIS 21446, at *17-18 (N.D. Cal.
   Feb. 21, 2012) (dismissing claims because “[i]t is simply implausible — indeed, it strains the
25 boundaries of the English language — to say that products made primarily from potatoes are not
   made of ‘veggies’” or that use of “the words ‘veggie’ and ‘apple,’ when used to describe products
26 containing veggies and apples, are ‘literal falsit[ies].’”); Henderson v. Gruma Corp., 2011 U.S.
   Dist. LEXIS 41077, at **33-34 (C.D. Cal. Apr. 11, 2011) (“With Garden Vegetables” not
27 misleading to because the product did “in fact contain vegetables that can be grown in a garden.”).
   14
      Again, the Complaint confirms that a “synthetic” substance is “formulated or manufactured by
28 a chemical process or by a process that chemically changes a substance extracted from naturally

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 1 certain allegedly “unnatural” or “synthetic” active ingredients in some of the Purchased

 2 Products, 15 it does not allege that any of these allegedly active ingredients were not derived from

 3 natural sources. On the contrary, the allegations in the Complaint—as confusing and opaque as

 4 they are—appear to confirm that certain active ingredients actually are derived from natural

 5 sources. See Dkt. 1 ¶ 36(j) (alleging that Citric Acid “is a naturally occurring substance that

 6 commercially goes through numerous chemical processes to get to [its] final usable form.”).

 7                 b.      No Reasonable Person Viewing The Website Statements Would Be
                           Deceived As Alleged By Plaintiff
 8

 9          Because Plaintiff cannot establish that a reasonable consumer would read the sole label
10 statement as he alleges, he attempts to rely on a diffuse medley of website statements (which does

11 not include “Active Ingredients Derived from Natural Sources”) to support his conclusion that

12 reasonable consumers believe the Purchased Products are completely natural products that do not

13 contain any “unnatural” or “synthetic” ingredients or that all ingredients are derived from natural

14 sources. The Complaint does not allege facts sufficient to support these conclusions.

15          As an initial matter, the website statement allegations do not satisfy Fed. R. Civ. P. 9(b).
16 The Complaint fails to connect any alleged website statement to any specific product, allege when

17 the statements were made or when Plaintiff viewed them, or allege facts sufficient to establish that

18 any consumer would have read and relied on any of these disparate statements that are not tied to

19 any specific product on a website featuring thousands of products. See Section IV.C.1.b-c infra.

20          Moreover, a review of each individual statement proves that no reasonable consumer could
21

22 occurring plant, animal, or mineral sources….’” Dkt. 1 ¶ 36 (quoting 7 U.S.C. § 6502(21))
   (emphasis added). Moreover, nothing in the ingredient laundry list (Dkt. 1 ¶ 36(aa)-(ddd))
23 establishes that the ingredients are not derived from natural sources. Most of the opaque
   discussion focuses on irrelevant facts (e.g., whether a kitchen cleaning product ingredient is
24 “linked to birth defects following excessive oral ingestion”) and irrelevant standards (e.g., the
   OFPA). Notably, Plaintiff does not allege any physical harm caused by the kitchen products.
25 15
      The alleged active ingredients are citric acid (Meyer Lemon Hand Soap, Pink Grapefruit
26 Countertop   Spray, White Gardenia Dish Soap), dimethicone (Meyer Lemon Hand Lotion);
   potassium sorbate (Meyer Lemon Hand Lotion, Meyer Lemon Hand Soap), sodium chloride
27 (Meyer Lemon Hand Soap, White Gardenia Dish Soap); and sodium lauryl sulfate (White
   Gardenia Dish Soap). Dkt. 1 ¶ 37. The Complaint does not identify any active ingredient in the
28 Fleur De Sel All-Purpose Cleaner, let alone allege facts establishing that the unidentified active
   ingredients were not derived from natural sources.
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 1 interpret them to mean that the products are completely natural products and do not contain any

 2 “unnatural” or “synthetic” ingredients, or that all ingredients are derived from natural sources:

 3          •       Website Representation No 1. “Our exclusive essential oil blends nourish your
                    skin with plant-based ingredients and contain no harmful parabens or chlorine.”
 4                  Dkt. 1 ¶ 6.

 5          The Complaint does not allege which Purchased Products (if any) this statement applies to,

 6 or even what “plant-based ingredients” means. Nonetheless, the only way to interpret this

 7 statement is that the “essential oil blends” used in unspecified products contain “plant-based

 8 ingredients” that will “nourish your skin.” A reasonable consumer could not read this to mean that

 9 the Purchased Products are all natural or only contain natural ingredients.
10          •       Website Representation No. 2. “Completely natural ingredients leave the whole
                    room with a fresh feeling and give you peace of mind too. There are no dangerous
11                  chemicals like ammonia or chlorine to worry about, and no lauramide DEA or
                    parabens either — only natural oils, essences and cleansing elements. Because
12                  these soaps are biodegradable, they’re good for the environment too. None of our
                    products are tested on animals.” Dkt. 1 ¶ 27.
13

14          Again, the Complaint does not allege which of the Purchased Products this statement
15 applies to (if any). Even assuming this statement was used to describe some or all of the

16 Purchased Products, the first sentence merely represents that the natural ingredients in the products

17 leave a room feeling fresh (not that all ingredients are completely natural). The second sentence

18 provides that the products to which this statement applies do not contain certain chemicals (the

19 Complaint does not allege they do) and, instead, have “natural oils, essences and cleansing

20 elements.” This is not, and could not be reasonably interpreted to be, a representation that the

21 Purchased Products are all natural or contain all natural ingredients.

22          •       Website Representation No 3. Certain, unspecified products “reflect[] our culinary
                    roots with a bright, clean fragrance that blends into the kitchen naturally.” Dkt. 1
23                  ¶¶ 28-29.
24          Although the Complaint (again) fails to identify the specific Purchased Products (if any)
25 this statement applies to, its import is clear—the scents of the products (e.g., lemon, grapefruit,

26 gardenia) blend with other smells in a kitchen. No reasonable consumer would interpret this

27 statement to mean that the Purchased Products are natural because they do not contain “unnatural”

28 or “synthetic” ingredients, or that all ingredients are derived from natural sources. Moreover, a

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 1 claim that a product’s scents blend “naturally” into a kitchen is nothing more than non-actionable

 2 “puffery.” Azoulai v. BMW of N. Am. LLC, 2017 U.S. Dist. LEXIS 57121, at *24 (N.D. Cal. Apr.

 3 13, 2017) (“Generalized, vague, and unspecified assertions constitute ‘mere puffery’ upon which a

 4 reasonable consumer could not rely, and hence are not actionable. To be actionable, a statement

 5 must be ‘specific and measurable’ and capable of being proven true or false.”) (internal citations

 6 omitted). There is nothing “specific or measurable” about whether a scent blends “naturally” into

 7 a kitchen, and whether this is true is inherently subjective. See, e.g., Vitt v. Apple Computer, Inc,

 8 469 Fed. Appx. 605, 607 (9th Cir. 2012) (affirming dismissal on basis that descriptors such as

 9 “durable,” “reliable,” and “high performance” were not actionable); Azoulai, 2017 U.S. Dist.
10 LEXIS 57121, at *24 (“[T]here is nothing ‘specific and measurable’ about the word ‘safely.’”).

11          •       Website Representation No 4. WSI’s “uplifting seasonal spray is made with plant-
                    based ingredients to create a light, clean scent that gently and evenly dissipates
12                  throughout the room.” Dkt. 1 ¶ 30.
13          The import of this statement is clear. The unspecified “seasonal spray” contains certain
14 “plant-based ingredients” that create scent. There is no representation that the Purchased Products

15 (which are not “seasonal”) are all natural or do not contain “unnatural” or “synthetic” ingredients.

16                  c.      The Complaint’s Attempt To Combine The Disparate Statements Fails
17          Finally, because, it is clear that no single statement can be read as Plaintiff alleges, Plaintiff
18 seeks to conflate and confuse the sole packaging statement with disparate, unspecific, and non-

19 actionable website statements to state his claims. See Dkt. 1 ¶ 27 (alleging “WSI cultivates the

20 Williams Sonoma [sic] image as a natural, non-synthetic, health and eco-friendly brand through its

21 statements.”). For the reasons set forth above, however, even if the packaging statement (“Active

22 Ingredients Derived from Natural Sources”) were combined with the disparate website statements

23 regarding unspecified products, Plaintiff’s claims would still fail. For example, no person could

24 read the product statement “Active Ingredients Derived from Natural Sources” and a website

25 statement that the product has “a bright, clean fragrance that blends into the kitchen naturally” and

26 reasonably conclude that the product is a completely natural product that does not contain any

27 “unnatural” or “synthetic” ingredients, or that all ingredients (active and inactive) are derived from

28 natural sources. In fact, when the packaging statement and website statements are read together

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 1 they confirm, at best, that certain ingredients are derived from natural sources, plant-based, or

 2 natural. Thus, even in combination, a reasonable consumer could not conclude that the products

 3 are all natural or contain all natural ingredients. 16

 4           2.     Plaintiff’s Claims Under The Unlawful And Unfair Prongs Of The UCL Fail

 5           “The unlawful prong of the UCL prohibits anything that can properly be called a business

 6 practice and that at the same time is forbidden by law” and, as such, “permits injured consumers to

 7 ‘borrow’ violations of other laws and treat them as unfair competition that is independently

 8 actionable.” Punian, 2016 U.S. Dist. LEXIS 34164, at *54 (internal quotations omitted).

 9 Plaintiff’s unlawful claim is premised on violations of the CLRA and FAL. Dkt. 1 ¶ 76. Because
10 he has failed to allege violations of either statute, Plaintiff cannot “plausibly allege violation of the

11 unlawful prong of the UCL.” Punian, 2016 U.S. Dist. LEXIS 34164, at *55. “The unfair prong of

12 the UCL prohibits a business practice that violates established public policy or if it is immoral,

13 unethical, oppressive or unscrupulous and causes injury to consumers which outweighs its

14 benefits.” Id. at *55. “[A]n act or practice is unfair if the consumer injury is substantial, is not

15 outweighed by any countervailing benefits to consumers or to competition, and is not an injury the

16 consumers themselves could reasonably have avoided.” Id. Plaintiff’s unfair claim, which merely

17 recites the elements of such a claim (see Dkt. 1 ¶¶ 79-83), entirely overlaps with his CLRA and

18 FAL claims. Because Plaintiff has failed to allege a claim under either statute, however—or even

19 allege a false statement—Plaintiff’s claim under the unfair prong should be dismissed. See

20 Punian, 2016 U.S. Dist. LEXIS 34164, at *56.

21           3.     Plaintiff’s MMWA Claim Fails
22           The Complaint alleges WSI violated the MMWA by “making express warranties that the
23
     16
24      Even if a reasonable consumer could read the label statement (not alleged to appear on the
     website) and the website statements (not alleged to be on labels) as alleged by Plaintiff, the
25   Complaint does not allege facts proving that any individual (other than, apparently, Plaintiff) went
     to a store, picked a product, read the label statement (on the side or back of the packaging, and
26   below myriad other information), read all alleged website statements (statements not connected to
     any specific product or a specific webpage), and combined and relied on all of the disparate
27   statements to conclude that the Purchased Products are all natural. Although Plaintiff, who did not
     make any purchases online, alleges (in conclusory fashion that directly contradicts his CLRA
28   notice letter (see Section IV.E infra; Aigboboh Decl. ¶ 11, Ex. J)) that he read and relied on all
     statements, his allegations render him, in all likelihood, a class of one.
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 1 Products are ‘natural’ and contain ‘Active Ingredients Derived from Natural Sources.’” Dkt. 1 ¶

 2 91. The MMWA claim fails for at least three reasons: (1) Plaintiff has not alleged warranty

 3 claims under California law; (2) Plaintiff has not alleged the existence of a “written warranty”

 4 under MMWA; and (3) Plaintiff does not allege he provided with the required opportunity to cure.

 5                  a.      Plaintiff Has Not Alleged Warranty Claims Under California Law

 6          The MMWA “merely provides a federal remedy for breach of warranties under state law.

 7 Thus, [MMWA] claims stand or fall with…express and implied warranty claims under state law.”

 8 Hindsman, 2018 U.S. Dist. LEXIS 92319, at *15 (internal quotations omitted); see also Clemens

 9 v. DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008). Because Plaintiff’s claims for
10 breach express warranty and implied warranty of merchantability fail as set forth below (see

11 Sections IV.C.1.a-c infra), the MMWA claim must be dismissed. See, e.g., In re Sony PS3 “other

12 OS” Litig. v. Sony Computer Entm’t Am., Inc., 551 Fed. Appx. 916, 920 (9th Cir. 2014) (“Because

13 [p]laintiffs fail to adequately allege a state warranty claim, the MMWA claim fails.”).

14                  b.      Plaintiff Has Not Alleged A “Written Warranty” Under The MMWA
15          Even if the Complaint stated state law warranty claims (it does not), the MMWA claim
16 would fail because it does not allege a “written warranty” under the MMWA. Under the MMWA,

17 the term “written warranty” is either (1) a “written affirmation of fact or written promise…which

18 relates to the nature of the material or workmanship and affirms or promises that such material or

19 workmanship is defect free or will meet a specified level of performance over a specified period of

20 time,” or (2) an “undertaking in writing…to refund, repair, replace, or take other remedial

21 action….” 15 U.S.C. § 2301(6)(A)-(B). Even assuming that WSI represented that the products

22 were all natural products that contain no “unnatural” or “synthetic” ingredients (it did not), such a

23 statement is not an “assertion that the product will be defect free or that it will meet a specified

24 level of performance over a specified period of time” or a “a promise to take any remedial action.”

25 In re ConAgra Foods, Inc., 908 F. Supp. 2d 1090, 1102 (C.D. Cal. 2012) (“100% Natural” not a

26 written warranty under MMWA); see also Hairston, 2012 U.S. Dist. LEXIS 74279, at **18-19

27 (“all natural with vitamins” does not “meet the [MMWA] definition of ‘written warranty’….”).

28 These statements, which “merely describ[e] the materials contained in a product,” are “considered

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 1 products descriptions” that do not qualify as “written warranties under the MMWA….” Ruszecki

 2 v. Nelson Bach USA LTD., 2015 U.S. Dist. LEXIS 151946, at *10 (S.D. Cal. June 25, 2015). 17

 3                  c.      Plaintiff Has Not Alleged Notice And An Opportunity To Cure

 4           To state an MMWA claim, a plaintiff allege he provided notice of breach and “a

 5 reasonable opportunity to cure….” 15 U.S.C. § 2310(e); see also Tietsworth v. Sears, Roebuck &

 6 Co., 720 F. Supp. 2d 1123, 1143 (N.D. Cal. 2010). Because Plaintiff does not allege either (Dkt. 1

 7 ¶¶ 86-94), the MMWA claim must be dismissed. See, e.g., Park-Kim v. Daikin Indus., 2016 U.S.

 8 Dist. LEXIS 104248, at **60-63 (C.D. Cal. Aug. 3, 2016) (MMWA dismissed claim “for failure

 9 to plead sufficient notice.”); McVicar v. Goodman Global, Inc., 1 F. Supp. 3d 1044, 1058 (C.D.
10 Cal. 2014) (MMWA claim dismissed for failure because “to afford [defendant] a reasonable

11 opportunity to cure….”).

12           4.     Plaintiff’s State Law Warranty Claims Fail
13           Plaintiff’s state law warranty claims fail because he has not alleged the required pre-suit
14 notice. Even if notice were pled, the express and implied warranty claims would fail because the

15 Complaint does not allege facts sufficient to state a claim.

16                  a.      Plaintiff Has Not Alleged Pre-Suit Notice
17           “To avoid dismissal of a breach of warranty claim in California, ‘[a] buyer must plead that
18 notice of the alleged breach was provided to the seller within a reasonable time after discovery of

19 the breach.’” Donohue v. Apple, Inc., 871 F. Supp. 2d 913, 929 (N.D. Cal. 2012) (quoting Alvarez

20 v. Chevron Corp., 656 F.3d 925, 932 (9th Cir. 2011)); see also Cal. Comm. Code § 2607(3)(A).

21 Because “[t]he purpose of the notice requirement is to allow the breaching party to cure the breach

22 and thereby avoid the necessity of litigating the matter in court,” the Ninth Circuit has “require[d]

23 the plaintiff to show that he has given the seller notice of the breach before filing suit.” Donohue,

24

25   17
      See also Brazil v. Dole Food Co., 935 F. Supp. 2d 947, 966 (N.D. Cal. 2013) (dismissing
26 MMWA      claim with prejudice because “All Natural” claim is “mere product description….”);
   Jones v. Conagra Foods, Inc., 912 F. Supp. 2d 889, 893, 903 (N.D. Cal. 2012) (MMWA claim
27 based on “labeling food products as 100% natural” dismissed with prejudice); Littlehale v. Hain
   Celestial Grp., Inc., 2012 U.S. Dist. LEXIS 162530, at **2-3 (N.D. Cal. July 2, 2012) (dismissing
28 MMWA claim with prejudice because “the statements ‘Pure Natural’ and ‘All Natural’…are mere
   product descriptions, and do not fall within the [MMWA’s] definition of ‘warranty.’”).
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 1 871 F. Supp. 2d at 929. The pre-suit notice requirement applies to both express and implied

 2 warranty claims. See, e.g., Alvarez, 656 F.3d at 932 (affirming dismissal of express and implied

 3 warranty claims for failure to establish pre-suit notice). Because the Complaint does not allege

 4 that Plaintiff provided any notice of any alleged breaches of warranty prior to filing suit (Dkt. 1 ¶¶

 5 95-110), the express warranty and implied warranty claims must be dismissed.

 6                  b.      The Complaint Fails To State A Claim For Breach of Express Warranty

 7           “To prevail on a breach of express warranty claim, [p]laintiff[] must prove: (1) the seller’s

 8 statements constitute an affirmation of fact or promise or a description of the goods; (2) the

 9 statement was part of the basis of the bargain; and (3) the warranty was breached.” Rugg, 2018
10 U.S. Dist. LEXIS 101727, at *11. Here, Plaintiff alleges that the statement “Active Ingredients

11 Derived from Natural Sources” constitutes an “express warranty” that the Purchased Products do

12 not “contain unnatural and/or synthetic ingredients.” Dkt. 1 ¶¶ 97-99. This cannot be the case

13 because the statement “Active Ingredients Derived from Natural Sources” is not a representation

14 that the product does not contain any “unnatural and/or synthetic ingredients.” See Section

15 IV.C.1.a supra. 18 Moreover, Plaintiff has not alleged facts establishing a breach of the actual

16 statement—namely that the Purchased Products do not contain “Active Ingredients Derived from

17 Natural Sources.” See Section IV.C.1.a supra; see also Rugg, 2018 U.S. Dist. LEXIS 101727, at

18 *11 (dismissing express warranty claim because plaintiffs “failed to allege facts showing that the

19 products in question are not hypoallergenic under a plausible definition of that term.”). Plaintiff’s

20 warranty claims based on purported website statements fail for the same reason (and because

21 many of the alleged representations are “puffery.”) See Section IV.C.1.b supra; see also Azoulai,

22 2017 U.S. Dist. LEXIS 57121, at *25 (dismissing express warranty claim based on “puffery”).

23                  c.      The Complaint Fails To State A Claim For Breach Of The Implied
                            Warranty Of Merchantability
24

25           “Unless excluded or modified…, a warranty that the goods shall be merchantable is

26

27   18
     The same holds true under the reasonable consumer test—a test that “[s]everal courts” in the
28 Ninth Circuit “have suggested….applies to express warranty claims under California law.” Rugg,
   2018 U.S. Dist. LEXIS 101727, at *10; see also Section IV.C.1 infra.
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 1 implied in a contract for their sale if the seller is a merchant with respect to goods of that kind.”

 2 Cal. Comm. Code § 2314(1). “Unlike express warranties, liability for an implied warranty does

 3 not depend upon any specific conduct or promise on [the defendant’s] part, but instead turns upon

 4 whether the[ ] product is merchantable under the code.” Bohac v. Gen. Mills, Inc., 2014 U.S. Dist.

 5 LEXIS 41454, at **30-31 (N.D. Cal. Mar. 26, 2014) (internal quotations omitted).

 6           “The implied warranty ‘provides for a minimum level of quality.’” Birdsong v. Apple,

 7 Inc., 590 F.3d 955, 958 (9th Cir. 2009) (quoting Am. Suzuki Motor Corp. v. Sup. Ct., 37 Cal. App.

 8 4th 1291, 1296 (1995)). “A breach of the warranty of merchantability occurs if the product lacks

 9 even the most basic degree of fitness for ordinary use.” Id. (quoting Mocek v. Alfa Leisure, Inc.,
10 114 Cal. App. 4th 402, 406 (2003)). 19 Notwithstanding the Complaint’s conclusions to contrary,

11 Plaintiff does not, and could not, allege any facts establishing that the Purchased Products

12 (cleaning products, soaps, and lotions) are not fit for their ordinary purpose (cleaning and/or

13 moisturizing). See, e.g., Strumlauf v. Starbucks Corp., 192 F. Supp. 3d 1025, 1032 (N.D. Cal.

14 2016) (dismissing implied warranty claim because no allegation that the products do not “meet the

15 most basic degree of fitness….”).

16           Plaintiff’s implied warranty claim, therefore, rests on his contentions that the Purchased

17 Products are not “merchantable” because they “were not ‘adequately contained, packaged, and

18 labeled as the agreement may require,’” and “did not ‘conform to the promise or affirmations of

19 fact made on the container or label.’” Dkt. 1 ¶ 104. Courts have rejected use of these

20 allegations—without facts establishing that the product is unfit for its ordinary use—to state an

21 implied warranty claim. See, e.g., Strumlauf, 192 F. Supp. 3d at 1032 (“[A] well-pled claim must

22 assert that the product was unfit for its ordinary use.”); Dei Rossi v. Whirlpool Corp., 2013 U.S.

23 Dist. LEXIS 153682, at **16-19 (E.D. Cal. Oct. 24, 2013) (rejecting argument that defendant’s

24

25   19
      See also Kent v. Hewlett-Packard Co., 2010 U.S. Dist. LEXIS 76818, at *10 (N.D. Cal. July 6,
26 2010)  (because the implied warranty of merchantability only “provides for a minimum level of
   quality”—and does not impose a general requirement that goods precisely fulfill the expectation of
27 the buyer”—a “defect must render the product unfit for its ordinary purpose.”) (internal quotations
   omitted); Mexia v. Rinker Boat Co., Inc., 174 Cal. App. 4th 1297, 1303 (2009) (“The core test of
28 merchantability is fitness for the ordinary purpose for which such goods are used. Such fitness is
   shown if the product is in safe condition and substantially free of defects….”).
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 1 “refrigerators violate the implied warranty of merchantability because they do not conform to the

 2 promise or affirmation that they abide by the Energy Star requirements” because “even though a

 3 product may be labeled with specific adjectives, that description does not change the ordinary

 4 purpose that it is used for.”). Even assuming these allegations are sufficient to state a claim,

 5 Plaintiff’s contention lack merit.

 6          First, there was no “agreement” that the Purchased Products would be “adequately

 7 contained, packaged, and labeled….” Cal. Comm. Code § 2-314(2)(e). The only “agreement”

 8 alleged is the purported express warranty created by the labels themselves, and an interpretation of

 9 Section 2-314(2)(e) that makes the product labels the “agreement” would render it duplicative of
10 Cal. Comm. Code § 2-314(2)(f), which requires goods to “[c]onform to the promises or

11 affirmations on the container or label if any.” See Voss v. Commissioner, 796 F.3d 1051, 1059

12 (9th Cir. 2015) (“[C]ourts should not interpret statutes in a way that renders a provision

13 superfluous.”). Second, the implied warranty claim based on the allegation that the Purchased

14 Products failed to “conform to the promises or affirmation of fact made on the container or label”

15 fails for the same reason as his express warranty claim—the statement “Active Ingredients

16 Derived from Natural Sources” does not warrant that the products do not contain any “unnatural”

17 or “synthetic” ingredients. See Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1096 (N.D.

18 Cal. 2017) (“When an implied warranty of merchantability cause of action is based…on whether

19 the product…‘[c]onforms to the promises or affirmations of fact’ on the packaging…, the implied

20 warranty…claim rises and falls with express warranty claims brought for the same product.”).

21          5.      Plaintiff’s Unjust Enrichment Claim Fails
22          “[T]here is not a standalone cause of action for ‘unjust enrichment,’ which is synonymous
23 with ‘restitution.’” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015)

24 (citations omitted). The Ninth Circuit, however, has held that “unjust enrichment…[is] not

25 irrelevant in California law” because it “describe[s] the theory underlying a claim that a defendant

26 has been unjustly conferred a benefit ‘through mistake, fraud, coercion, or request.’” Id. (citation

27 omitted). Accordingly, “[w]hen a plaintiff alleges unjust enrichment, a court may construe the

28 cause of action as a quasi-contract claim seeking restitution.” Id. (internal quotations and citations

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 1 omitted). “[T]here cannot be a claim based on quasi contract,” however, “where there exists a

 2 valid express contract covering the same subject matter.” Strumlauf, 192 F. Supp. 3d at 1032-33

 3 (quotations omitted). Thus, because Plaintiff has asserted an express warranty claim, his unjust

 4 enrichment claim must be dismissed. Id. at 1033 (“Even though there is no written contract at

 5 issue in the case, Plaintiffs still allege an express contract by alleging [breach of express

 6 warranty]. Thus, no quasi-contract claim may stand.”); see also Smith v. Allmax Nutrition, Inc.,

 7 2015 U.S. Dist. LEXIS 171897, at **27-28 (E.D. Cal. Dec. 23, 2015) (dismissing cause of action

 8 for unjust enrichment where plaintiff also claimed breach of express warranty).

 9           Even if Plaintiff had not alleged the existence of a contract, the unjust enrichment claim
10 would still fail. When construed as a quasi-contract claim seeking restitution, unjust enrichment

11 requires proof of defendant’s unjust receipt and retention of a benefit at plaintiff’s expense.

12 Lectrodryer v. Seoulbank, 77 Cal. App. 4th 723, 726 (2000). As set forth above, the sole label

13 statement and disparate website statements are neither false nor misleading. See Section IV.C.1

14 supra. As such, any receipt and retention of a benefit by WSI could not be unjust. 20

15           6.     Plaintiff’s Negligent Misrepresentation Claim Fails

16           Plaintiff’s negligent misrepresentation claim fails for at least two reasons: (1) it is barred

17 by the economic loss rule; and (2) Plaintiff has failed to allege facts sufficient to state a claim.

18                  a.      The Economic Loss Rule Bars The Negligent Misrepresentation Claim

19           “The economic loss doctrine provides that a plaintiff’s tort recovery of economic damages

20 is barred unless such damages are accompanied by some form of harm to person or property, or

21 the action falls under an exception.” Strumlauf, 192 F. Supp. 3d at 1035. “Thus, in actions for

22 negligence, liability is limited to damages for physical injuries and recovery of economic loss is

23 not allowed.” Id. “Under the rule, a plaintiff may recover in tort only where he or she can allege

24
     20
25    Moreover, because “unjust enrichment…is simply a ‘theory underlying a claim that a defendant
   has been unjustly conferred a benefit through mistake, fraud, coercion, or request’…, failure to
26 allege a substantive claim for relief — such as one under the UCL, FAL, or CLRA — warrants
   dismissal of any additional claim for unjust enrichment.” Taylor v. Nike, Inc., 2017 U.S. Dist.
27 LEXIS 22875, at *24 (D. Or. Feb. 17, 2017) (quoting Astiana, 783 F.3d at 762) (applying
   California law). Thus, because Plaintiff’s “underlying causes of action fail,” his “claim for unjust
28 enrichment cannot stand” and must be dismissed. Punian, 2016 U.S. Dist. LEXIS 34164, at *56
   (internal quotations and citations omitted).
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 1 personal injury or ‘damage to ‘other property,’ that is, property other than the product itself.’”

 2 Nada Pac. Corp. v. Power Eng’g & Mfg., 73 F. Supp. 3d 1206, 1221 (N.D. Cal. 2014) (quoting

 3 Jimenez v. Sup. Ct., 29 Cal. 4th 473, 482-83 (2002)) (emphasis in original). Plaintiff has not

 4 alleged any physical harm to himself or any property. The harm alleged is purely economic—

 5 namely, that he purchased products he “would not have…if the true facts had been known.” Dkt.

 6 1 ¶ 122; see also Dkt. 1 ¶ 45. The negligent misrepresentation claim should be dismissed. 21

 7                  b.      The Complaint Does Not State A Negligent Misrepresentation Claim

 8           “The elements of negligent misrepresentation are (1) the defendant made a false

 9 representation as to a past or existing material fact; (2) the defendant made the representation
10 without reasonable ground for believing it to be true; (3) in making the representation, the

11 defendant intended to deceive the plaintiff; (4) the plaintiff justifiably relied on the representation;

12 and (5) the plaintiff suffered resulting damages.” Majd v. Bank of Am., N.A., 243 Cal. App. 4th

13 1293, 1307 (2015). The Complaint does not allege facts establishing any required element. There

14 are no facts alleged establishing that the statement “Active Ingredients Derived from Natural

15 Sources” is false or misleading. See Section IV.C.1.a supra. Even if there were, because no

16 reasonable consumer would read the statement “Active Ingredients Derived from Natural Sources”

17 to mean that the products contain no “unnatural” or “synthetic” ingredients, there can be no

18 justifiable reliance. McKinniss, 2007 U.S. Dist. LEXIS 96106, at *15 (“Even assuming, arguendo,

19 that the characteristics of the Froot Loops box constitute misrepresentations, [p]laintiffs cannot

20 establish justifiable reliance because, again, [p]laintiffs cannot establish that the reasonable

21 consumer would rely on these representations in assuming that Froot Loops contains actual

22 fruit.”). The same holds true for the alleged website statements. See Section IV.C.1.a supra.

23           Additionally, a “negligent misrepresentation claim requires a positive assertion, not merely

24
     21
25   See, e.g., Golden v. Home Depot, U.S.A., Inc., 2018 U.S. Dist. LEXIS 91182, at **33-35 (E.D.
   Cal. May 31, 2018) (dismissing negligent misrepresentation claim because plaintiff “has also not
26 identified any injury not purely economic in nature, or any other special relationship or situation
   which would warrant an exception to the economic loss rule.”); Strumlauf, 192 F. Supp. 3d at
27 1035 (dismissing negligent misrepresentation claim because plaintiffs “did not suffer any non-
   monetary damage” as a result of purchase of underfilled lattes); Welk v. Beam Suntory Import Co.,
28 124 F. Supp. 3d 1039, 1044 (S.D. Cal. 2015) (holding that the economic loss rule bars negligent
   misrepresentation claim based on allegedly misleading labels on bourbon bottles).
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 1 an omission.” Lopez v. Nissan N. Am., Inc., 201 Cal. App. 4th 572, 596 (2011) (internal

 2 quotations omitted). Thus, to the extent the negligent misrepresentation claim is based on alleged

 3 omissions (Dkt. 1 ¶¶ 120-21 (alleging “negligently omitted material facts” and “negligent…

 4 omissions”)), it must be dismissed. Cheramie v. HBB, Ltd. Liab. Co., 545 Fed. Appx. 626, 627-28

 5 (9th Cir. 2013) (affirming dismissal of negligent misrepresentation claim because plaintiff did not

 6 “allege any affirmative representations....”); Lopez, 201 Cal. App. 4th at 596 (same).

 7          7.      Plaintiff’s Fraud Claim Fails

 8          “The elements of a cause of action for fraud in California are: (a) misrepresentation (false

 9 representation, concealment, or nondisclosure); (b) knowledge of falsity (or ‘scienter’); (c) intent
10 to defraud, i.e., to induce reliance; (d) justifiable reliance; and (e) resulting damage.” Kearns, 567

11 F.3d at 1126 (internal quotations omitted). The Complaint does not allege facts establishing the

12 required elements. There is no misrepresentation alleged (see Section IV.C.1 supra); as such,

13 there can be no scienter or intent to defraud. The Complaint also fails to facts establishing

14 justifiable reliance on the sole statement on the Purchased Products’ packaging or the disparate

15 and unspecific website statements (many of which constitute “puffery”). See id.

16 D.       Plaintiff’s Claims For, And Seeking, Equitable Relief Should Be Dismissed

17          “The Supreme Court has stated it is axiomatic that a court should determine the adequacy

18 of a remedy in law before resorting to equitable relief.” Munning v. Gap, Inc., 238 F. Supp. 3d

19 1195, 1203 (N.D. Cal. 2017) (internal quotations omitted). Consequently, “a plaintiff seeking

20 equitable relief must first demonstrate that her remedy at law is inadequate.” Mullins v. Premier

21 Nutrition Corp., 2018 U.S. Dist. LEXIS 10810, at **4-5 (N.D. Cal. Jan. 23, 2018) (Seeborg, J).

22 “Indeed, several courts in this district have barred claims for equitable relief—including claims for

23 violations of California consumer protection statutes—at the motion to dismiss stage where

24 plaintiffs have alleged other claims presenting an adequate remedy at law.” Munning, 238 F.

25 Supp. 3d at 1203 (collecting cases); see also Mullins, 2018 U.S. Dist. LEXIS 10810, at *5

26 (“[C]ourts in the Northern District have routinely dismissed equitable claims brought under the

27 UCL and CLRA on the pleadings—including claims for restitution—where the plaintiff fails to

28 establish that there is no adequate remedy at law available.”). This is true even where plaintiff

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 1 “attempts to plead equitable relief in the alternative” (Duttweiler v. Triumph Motorcycles (Am.)

 2 Ltd., 2015 U.S. Dist. LEXIS 109805, at *27 (N.D. Cal. Aug. 19, 2015)), or “may have no remedy

 3 if her other claims fail” (Munning, 238 F. Supp. 3d at 1203).

 4           Here, Plaintiff’s UCL, FAL and unjust enrichment claims should be dismissed in their

 5 entirety. The UCL and FAL “provide only for equitable relief.” Munning, 238 F. Supp. 3d at

 6 1203. The only remedy sought by Plaintiff for unjust enrichment—restitution—is equitable. Dkt.

 7 1 ¶ 115; see also Mullins, 2018 U.S. Dist. LEXIS 10810, at *5. Plaintiff, however, has alleged

 8 claims seeking compensatory damages (i.e., an adequate remedy at law) based on the same

 9 conduct giving rise to the UCL, FAL, and unjust enrichment claims. See Dkt. 1 ¶¶ 58-85, 111-
10 115. Dismissal is, therefore, proper. 22 Plaintiff’s claims for equitable relief for his CLRA claim

11 (“injunctive relief” and “restitution”), negligent misrepresentation (“equitable relief”), and fraud

12 (“equitable relief”)—and prayer for an order “of restitution and all of other forms of equitable

13 monetary relief” and “requiring [WSI] to undertake a corrective advertising campaign,” and for

14 “injunctive relief as pleaded or as the Court may deem proper”—should be dismissed for the same

15 reason. Dkt. 1 ¶ 66, 123, 128 and Prayer for Relief at (f), (g), (h); see also Nguyen, 2017 U.S.

16 Dist. LEXIS 55501, at *16 (dismissing claim for injunctive relief under the CLRA); Phillips v.

17 Ford Motor Co., 2015 U.S. Dist. LEXIS 88937, at *53 (N.D. Cal. July 7, 2015) (same); Durkee v.

18 Ford Motor Co., 2014 U.S. Dist. LEXIS 122857, at **6-7 (N.D. Cal. Sept. 2, 2014) (same).

19           1.     Even If Plaintiff Is Entitled To Pursue Restitution, The Request For
                    Disgorement Of All Revenues Must Be Dismissed
20

21           In Count III (Violation of the UCL), Plaintiff request an order both “requiring [WSI]

22 to…provide restitution to Plaintiff [and] disgorge all revenues obtained as a result of violations of

23

24   22
         See, e.g., Munning, 238 F. Supp. 3d at 1203-04 (dismissing UCL and FAL claims with
25   prejudice because plaintiff “pleaded claims for breach of contract and breach of express warranty
     – which enable her to recover damages….”); Nguyen, 2017 U.S. Dist. LEXIS 55501, at **11-16
26   (dismissing UCL and unjust enrichment claims because “[p]laintiff has an adequate remedy at law
     in the form of [p]laintiff’s claims for damages…to compensate for [plaintiff] the exact same
27   alleged harm that forms the basis of [the] requests” for equitable relief) (internal quotations
     omitted); Bird, 2014 U.S. Dist. LEXIS 176390, at *13 (dismissing UCL claim); Rhynes v. Stryker
28   Corp., 2011 U.S. Dist. LEXIS 58286, at **8-12 (N.D. Cal. May 31, 2011) (same).

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 1 the UCL….” Dkt. 1 ¶ 85(b). Non-restitutionary disgorgement of “all revenues”—which Plaintiff

 2 seeks in addition to restitution—is not a remedy available under the UCL. Woo v. Home Loan

 3 Grp., L.P., 2007 U.S. Dist. LEXIS 98521, at *18 (S.D. Cal. July 27, 2007) (“A plaintiff bringing a

 4 UCL claim may not recover disgorgement beyond what it recoverable in restitution.”); Korea

 5 Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1148 (2003) (“This court has never

 6 approved of nonrestitutionary disgorgement of profits as a remedy under the UCL.”). 23 Thus,

 7 Plaintiff’s request for disgorgement of all revenues must be dismissed. 24

 8 E.        Plaintiff’s Claims For Damages Arising From Certain Products And The Website
             Statements Must Be Dismissed For Failure To Meet The CLRA Notice Requirements
 9
             A plaintiff seeking damages under the CLRA must notify defendant of the “particular
10
     alleged [CLRA] violations,” and “demand that [defendant] correct, repair, replace, or otherwise
11
     rectify the goods or services” at least 30 days before filing the action. Cal. Civ. Code § 1782(a).
12
     The requirement’s purpose is “to provide and facilitate pre-complaint settlements…wherever
13
     possible and to establish a limited period during which such settlement may be accomplished.”
14
     Outboard Marine Corp. v. Sup. Ct., 52 Cal. App. 3d 30, 41 (1975). “Courts require strict
15
     compliance with the notice requirement in order to further this purpose.” Ruszecki v. Nelson Bach
16
     USA LTD., 2015 U.S. Dist. LEXIS 151946, at *14 (S.D. Cal. June 25, 2015).
17
             Plaintiff’s CLRA letter is deficient for at least two reasons. Aigboboh Decl. ¶ 11, Ex. J.
18
     First, the letter does not address any of the alleged website statements. Compare id. with Dkt. 1 ¶¶
19

20   23
        See also Stathakos v. Columbia Sportswear Co., 2017 U.S. Dist. LEXIS 72417, at *28 (N.D.
     Cal. May 11, 2017) (“Under California law, a full refund may be available as a means for
21   restitution only when plaintiffs prove the product had no value to them.”) (internal quotations
     omitted); Mullins v. Premier Nutrition Corp., 2016 U.S. Dist. LEXIS 51140, at *18 (N.D. Cal.
22   Apr. 15, 2016) (Seeborg, J.) (“Restitution under the UCL…must be of a measurable amount to
     restore to the plaintiff what has been acquired by violations of the statutes. Thus, the proper
23   measure for restitution is the value of the price paid minus the actual value of the product.”)
     (internal quotations and citations omitted).
24   24
        See, e.g., Azpeitia v. Tesoro Ref. & Mktg. Co. LLC, 2017 U.S. Dist. LEXIS 114210, at *27
25   (N.D. Cal. July 21, 2017) (dismissing request for “an order [of] disgorgement of all profits gained
     by operation of the unfair business practices” because “such a request is improper and not
26   permitted by the UCL.”); Martinez v. Welk Grp., Inc., 2011 U.S. Dist. LEXIS 58718, at **10-12
     (S.D. Cal. June 2, 2011) (striking request for “disgorgement of all revenues” because the UCL
27   does not authorize this “nonrestitutionary type [of disgorgement]….”); Woo, 2007 U.S. Dist.
     LEXIS 98521, at *18 (striking prayer for “disgorgement of “revenues, earnings, profits,
28   compensation and benefits obtained by [d]efendants pursuant to [plaintiff’s] UCL claim.”).

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 1 6, 11, 26-30. As such, Plaintiff’s claims for CLRA damages based on the website statements

 2 should be dismissed. 25 Second, the letter does not identify the Sunny Citrus Hand Soap, Sunny

 3 Citrus Dish Soap, Sunny Citrus Hand Lotion, and Sunny Citrus Room Spray. Compare Aigboboh

 4 Decl. ¶ 11, Ex. J with Dkt. 1 ¶ 3. Plaintiff’s claim for CLRA damages arising from these products

 5 must also be dismissed. Ruszecki, 2015 U.S. Dist. LEXIS 151946, at *14 (“Ninth Circuit courts

 6 have held that the plaintiff must provide notice for each particular product the plaintiff is seeking

 7 damages for under the CLRA, even when the products are substantially similar.”). 26

 8                                        V.      CONCLUSION

 9           For the foregoing reasons, WSI respectfully requests that the Court grant the Motion, and
10 dismiss the Complaint with prejudice.

11                                       SHEPPARD MULLIN RICHTER & HAMPTON LLP

12
     Dated: August 6, 2018               By                   /s/ Benjamin O. Aigboboh
13                                                               P. CRAIG CARDON
                                                             BENJAMIN O. AIGBOBOH
14
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15   SMRH:486934527.10

16
   25
      See, e.g., Sebastian v. Kimberly-Clark Corp., 2017 U.S. Dist. LEXIS 208544, at *23-24 (S.D.
17 Cal. Dec. 18, 2017) (dismissing claims for monetary relief under the CLRA arising from the use of
   the term “hypoallergenic” because the notice letter did “not specifically identify that this term was
18 a ‘particular alleged violation’….”); Ruszecki, 2015 U.S. Dist. LEXIS 151946, at *16 (dismissing
   CLRA damages claims based on allegedly false and misleading statements not identified in the
19 CLRA notice letter); Allen v. Similasan Corp., 2013 U.S. Dist. LEXIS 139874, **7-9 (S.D. Cal.
   Sept. 27, 2013) (dismissing claims based on misrepresentations not raised in CLRA notice letter).
20 26
      Although district courts are split as to whether “dismissal of a CLRA claim for violation of
21 [the] notice requirement should be granted with or without prejudice” (Torrent v. Ollivier, 2016
   U.S. Dist. LEXIS 119284, at *7 (C.D. Cal. Sep. 2, 2016) (discussing cases)), Plaintiff’s CLRA
22 damages claims should be dismissed with prejudice. See, e.g., Ruszecki, 2015 U.S. Dist. LEXIS
   151946, at **16-17 (dismissing with prejudice “damages claims under the CLRA insofar as they
23 are based on products and alleged misrepresentations that were not specified in the CLRA.”);
   Janda v. T-Mobile, USA, Inc., 2009 U.S. Dist. LEXIS 24395, at *15 (N.D. Cal. Mar. 13, 2009)
24 (dismissal with prejudice). As the courts that have dismissed such claims with prejudice have
   confirmed, “the CLRA requires strict compliance with [its] notice requirements” because “[s]trict
25 adherence   to the statute’s notice provision is required to accomplish the Act’s goals of expeditious
   remediation before litigation.” Laster v. T-Mobile U.S., Inc., 407 F. Supp. 2d 1181, 1196 (S.D.
26 Cal. 2005); see also Cattie v. Wal-Mart Stores, Inc., 504 F. Supp. 2d 939, 950 (S.D. Cal. 2007).
   This is particularly true given that Plaintiff’s attempts to plead the disparate and unspecific website
27 statements is a clear attempt to avoid dismissal because the sole label statement—the only
   statement Plaintiff, who did not many any online purchases, claimed he viewed and relied on in
28 his notice letter—cannot be reasonably interpreted to mean that the Purchased Products are all
   natural and/or contain all natural ingredients.
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